Case 2:03-CV-02351-SH|\/|-tmp Document 85 Filed 07/14/05 Page 1 of 2 Page|D 105

 

IN THE UNITED sTATES DISTRICT cOURT ' c BY llc.
FOR THE WESTERN DISTRICT oF TENNESSEE 95
WESTERN DIvIsIoN JUL H¢ H fn 51,
ALMA BOYKINS, 0§9'“3
iN e{_-‘_z,;pHS
Plaintiff,
vs. NO. 03-2351-Ma

SEARS AND ROEBUCK, INC.

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Defendant.

 

ORDER GRANTING MOTION FOR EXTENSION TIME
TO FILE BRIEF

 

Before the court is defendant'S July 1, 2005, unopposed
motion requesting an extension of the deadlines for filing post
trial briefs. For good cause shown, the motion is granted. The
deadline for filing proposed findings of fact and conclusions of
law is July 18, 2005. The reply deadline is July 28, 2005.

It is so ORDERED this H£glday of July, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 85 in
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Honorable Samuel Mays
US DISTRICT COURT

